          Case 5:21-cv-00396-JKP Document 13 Filed 02/04/22 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


ROSALEE SMITH,                                  §
                                                §
                   Plaintiff,                   §                5-21-CV-00396-JKP
                                                §
vs.                                             §
                                                §
SPECIALIZED LOAN SERVICING,                     §
LLC,                                            §
                                                §
                   Defendant.                   §

                                           ORDER

       Before the Court is the above-styled and numbered cause of action, which was referred to

me for all nondispositive pretrial proceedings. See Dkt. No. 2. The Court is in receipt of the

parties’ January 18, 2022 Status Report, which informs the Court that they have reached a

settlement. See Dkt. No. 12. Accordingly, IT IS HEREBY ORDERED that the parties shall file

a stipulation of dismissal on or before March 18, 2022. Should the parties require additional

time to finalize their settlement agreement, they should inform the Court by filing a motion for

extension.

       Having considered and acted upon all matters for which the above-entitled and numbered

case was referred, it is ORDERED that the above-entitled and numbered case is RETURNED

to the District Court for all purposes.

       IT IS SO ORDERED.

       SIGNED this 4th day of February, 2022.




                                            RICHARD B. FARRER
                                            UNITED STATES MAGISTRATE JUDGE
